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  4
      Entered on Docket
___________________________________________________________________
  5 February 11, 2022

  6

  7

  8
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  9      Email: clarisse@nv-lawfirm.com
         ATKINSON LAW ASSOCIATES LTD.
 10      376 E Warm Springs Rd, Suite 130
         Las Vegas, NV 89119
 11
         Telephone: (702) 614-0600
 12      Attorney for Robert E. Atkinson, Trustee

 13                                UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF NEVADA
 14

 15        In re:                                                   Case No. 21-14486-abl
                                                                    Chapter 7
 16
           INFINITY CAPITAL MANAGEMENT, INC.
 17        dba INFINITY HEALTH CONNECTIONS,                         ORDER APPROVING SALE

 18                           Debtor.                               Hearing Date: February 8, 2022
                                                                    Hearing Time: 1:30 p.m.
 19

 20

 21                 A sale/auction hearing came on before the Court on February 8, 2022 at 1:30 p.m.
 22      (“Sale Hearing”). Appearances at the Sale Hearing were as noted in the record.
 23                 The chapter 7 trustee (“Trustee”) had sought approval of the sale of certain assets to
 24      buyer HASelect-Medical Receivables Litigation Finance Fund International SP (“HASelect”)
 25      for $100,000.00 and on the other terms and conditions of the Asset Purchase agreement
 26      (“APA”) attached as Exhibit 1 to the Trustee’s motion to approve sale [DE #145] (“Sale
 27      Motion”), subject to overbid at auction pursuant to certain bid procedures (“Procedures”).
 28




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 1
              The specific assets being sold hereunder are:
 2
                  1) Whatever interest the Bankruptcy Estate has in the Tecumseh Receivables
 3                   (inclusive of the monies from the TIF Checks, and the monies from the
                     TIF+HAS Checks), if any, and subject to the rights, title, and interests that
 4                   Tecumseh-Infinity Medical Receivables Fund, LP (“Tecumseh”) may have in
                     this property, if any.
 5
                  2) All claims and causes of action that could be brought by the Trustee or the
 6                   Bankruptcy Estate against any third party relating in any way to the Tecumseh
 7
                     Receivables, pursuant to (i) chapter five of title 11 of the United States Code,
                     or (ii) all applicable or relevant state or federal laws (collectively, the
 8                   “Claims”). For avoidance of doubt, the Claims include, but are not limited to,
                     all causes of action that could be brought by the Trustee pursuant to Sections
 9                   542, 543, 544, 545, 547, 548, 549, 550, 551, 552, and 553 of the United States
10
                     Bankruptcy Code for any matter relating in any way to the Tecumseh
                     Receivables.
11
                  3) All books and records related to the foregoing that the Bankruptcy Estate
12                   currently has in its possession, in whatever form and wherever located.

13
     (collectively, the “Assets”).1

14
              The Sale Hearing was held pursuant to prior Court order entitled ORDER GRANTING

15
     IN PART, AND DENYING IN PART, THE TRUSTEE’S MOTION TO: (I) APPROVE

16
     SALE OF CERTAIN ASSETS; (II) SET SALE/AUCTION PROCEDURES; AND (III) SET

17
     AUCTION HEARING DATE [DE #175] (“Sale Procedures Order”).

18
              At the Sale Hearing, the Trustee informed the Court: (i) that a new servicer for the

19
     Tecumseh Receivables was now in place2; and (ii) that no overbidders had pre-qualified to bid

20
     1
         The term “Tecumseh Receivables” is as defined in Tecumseh – Infinity Medical Receivable
21       Fund, LP’s Objection to Joint Motion to Approve Abandonment of Collateral [ECF No. 82]
22
         and as identified in Exhibit A and, to the extent marked as assigned to Tecumseh, Exhibit B
         to the Meyer Declaration [ECF No. 59], as well as any records relating exclusively thereto
23       or any proceeds thereof. The term “Tecumseh Receivables” shall also include any
         modification or substitution of that Exhibit A and Exhibit B allowed by the Court pursuant
24       to Tecumseh’s Motion to Allow Amendment of Declaration [DE #177]. The term “TIF
25
         Checks” shall include all funds received from checks from certain of the Tecumseh
         Receivables, and as deposited by the Trustee in a segregated estate account (ending x3146),
26       currently in the amount of $115,842.90. The term “TIF + HAS Checks” shall include all
         funds received from checks from certain other receivables that include Tecumseh
27       Receivables, and as deposited by the Trustee in a segregated estate account (ending x3154),
28
         currently in the amount of $23,900.00.
     2
         The accounts are being serviced by TPL Claims Management, LLC (“Servicer”).


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 1
     pursuant to the Procedures approved in the Sale Procedures Order. The Trustee observed that
 2
     therefore no auction need be held, and that the APA could simply be approved by the Court.
 3
     The Trustee also renewed his request to have HASelect be deemed a good-faith purchaser and
 4
     be afforded the protections of 11 U.S.C. § 363(m) as part of any approved sale.
 5
            The Court determined that, in the absence of any qualified bidder other than HASelect,
 6
     no auction was necessary and that approval of the APA was in the best interests of the estate.
 7
     The Court expressly found that HASelect is a good-faith purchaser of the Assets, and therefore
 8
     entitled to the protections of Section 363(m). All other findings of fact and conclusions of law
 9
     orally stated by the Court at the February 8, 2022 hearing are incorporated herein pursuant to
10
     Fed. R. Civ. P. 52, as made applicable to these proceedings via Fed. R. Bankr. P. 9014(c) and
11
     7052. For the reasons stated by the Court on the record at the hearing,
12
     IT IS HEREBY ORDERED:
13
            1.      The APA (attached hereto as Exhibit 1) is approved on a final basis, and the
14
     sale of the Assets to HASelect for $100,000.00 is approved. HASelect shall promptly remit
15
     the entire purchase price to the Trustee.
16
            2.      For avoidance of doubt, the following term contained in Section 1.04 of the APA
17
     is expressly incorporated in this order:
18
                           Upon Court approval of the Sale, all books and records of the Debtor
19                          pertaining to the Tecumseh Receivables, wherever located and in any
                            form, shall be turned over to HASelect, and HASelect shall be
20
                            empowered to enforce said turnover against any party.
21
            3.      For avoidance of doubt, the following sale terms previously approved in the Sale
22
     Procedures Order are restated and incorporated herein:
23

24                         The sale of the Assets is free and clear of all liens, claims, and
                            encumbrances of any third party other than HASelect and Tecumseh.
25                          The Assets are sold subject to whatever rights, title, interests, and
                            encumbrances HASelect and Tecumseh may have in the Tecumseh
26
                            Receivables. Both HASelect’s and Tecumseh’s interests in the Assets
27                          that existed as of the Petition Date shall remain unaffected by the sale.

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 1                         HASelect shall take the Assets in an “as-is” condition, and HASelect
                            shall be subject to and bound by the terms found in paragraph 13 of the
 2
                            Sale Motion. Such terms are incorporated herein by reference.
 3
            4.      The Trustee is authorized and instructed to remit the following funds to the
 4
     Servicer:
 5
                           $115,842.90 in funds from the TIF Checks, as currently held in estate
 6                          bank account ending x3146;
 7                         $23,900.00 in funds from the TIF + HAS Checks, as currently held in
 8
                            estate bank account ending x3154; and

 9                         Any checks or funds relating to the Tecumseh Receivables that may be
                            received by the Trustee in the future, from any source.
10
     Such funds are no longer property of the estate, to any extent that they ever were.
11
            5.      HASelect is hereby afforded the protections found in 11 U.S.C. § 363(m).
12
            6.      Entry of this Order on the docket of the bankruptcy case shall be sufficient
13
     evidence of the transfer of title of the Assets to HASelect. The Trustee is also authorized and
14
     empowered to execute a bill of sale or any other document consistent with this Order that may
15
     be reasonably appropriate to evidence its consummation.
16
            7.      This Order constitutes a final and appealable order within the meaning of 28
17
     U.S.C. § 158(a).
18
            IT IS SO ORDERED.
19
                                            # # # # #
20
     Respectfully submitted by:
21
         /s/ Clarisse Crisostomo
22
     CLARISSE L. CRISOSTOMO, ESQ.
23   Nevada Bar No. 15526
     Attorney for Robert E. Atkinson, Trustee
24

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 1
                                   CERTIFICATION re: RULE 9021
 2
     In accordance with LR 9021, counsel submitting this document certifies that the order accurately
 3
     reflects the court’s ruling and that (check one):
 4
            The court has waived the requirements set forth in LR 9021(b)(1).
 5
            No other party appeared at the hearing or filed an objection to the motion.
 6

 7          I have delivered a copy of this proposed order to all counsel who appeared at the
            hearing, and any unrepresented parties who appeared at the hearing, and each has
 8          approved or disapproved the order, or failed to respond, as indicated below:
 9
            Gabrielle A. Hamm, Esq. (counsel for Tecumseh) – APPROVED
10          Bart Larsen, Esq. (counsel for HASelect) – APPROVED

11          I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
            order with the motion pursuant to LR 9014(g), and that no party has objected to the
12
            form or content of the order.
13                                         # # # # #
14

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                        EXHIBIT 1
                                to
                              ORDER
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